

People v Almeida (2018 NY Slip Op 04255)





People v Almeida


2018 NY Slip Op 04255


Decided on June 8, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 8, 2018

PRESENT: WHALEN, P.J., SMITH, CARNI, CURRAN, AND WINSLOW, JJ. (Filed June 8, 2018.) 


MOTION NO. (343/15) KA 11-02364.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vDENYS ALMEIDA, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








